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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

OSCAR BARNES and                         )
GWENDOLYN BARNES,                        )
                                         )
       Plaintiffs,                       )   CIVIL ACTION
                                         )   FILE NO. ____________
v.                                       )
                                         )   [On removal from the Superior Court
STATE FARM FIRE AND                      )   of Gwinnett County, Civil Action File
CASUALTY COMPANY,                        )   No. 23-A-06462-6]
A foreign corporation,                   )
                                         )
       Defendant.

     DEFENDANT STATE FARM FIRE AND CASUALTY COMPANY’S
       ANSWER AND AFFIRMATIVE DEFENSES TO PLAINTIFFS’
                        COMPLAINT

      COMES NOW, State Farm Fire and Casualty Company (hereinafter

“Defendant” or “State Farm”) and hereby files this, its Answer and Affirmative

Defenses to Plaintiffs’ Complaint, and shows this Court as follows:

                      FIRST AFFIRMATIVE DEFENSE

      Plaintiffs’ Complaint fails to state a claim against Defendant upon which relief

can be granted.
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                      SECOND AFFIRMATIVE DEFENSE

      Defendant State Farm is not liable to Plaintiffs for any cause of action,

including for breach of contract, because Defendant State Farm at no time breached

or otherwise violated any of the terms or conditions of the insurance policy between

State Farm and Plaintiffs. At all times, Defendant State Farm acted in accordance

with its rights and obligations as set forth in the Policy.

                       THIRD AFFIRMATIVE DEFENSE

      To the extent Plaintiffs’ Complaint or prayer for relief seeks, or is construed

as seeking, damages other than the contractual damages, such remedies are not

available to the Plaintiffs inasmuch as O.C.G.A. § 33-4-6 is the sole manner by

which to recover extra-contractual damages, including attorney’s fees, from an

insurer in a first party dispute over payment of insurance benefits.

                      FOURTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs’ Complaint seeks or is construed as seeking, to recover

bad faith penalties and attorney’s fees under O.C.G.A. § 33-4-6 against State Farm,

such remedies are not available to Plaintiffs, as Plaintiffs failed to satisfy the

substantive and/or procedural requirements for making a claim for bad faith, as

required under O.C.G.A. § 33-4-6. Plaintiffs failure to comply with the procedural

requirements of O.C.G.A. § 33-4-6 include failing to submit a proper and timely
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demand to State Farm as the purported bad-faith demand attached to Plaintiffs’

Complaint as Exhibit B was never transmitted to State Farm until the filing of this

Lawsuit.

                       FIFTH AFFIRMATIVE DEFENSE

      Plaintiffs may not recover for any damage to real or personal property under

the subject insurance policy and applicable Georgia law to the extent that the

damages are excluded by the Policy.

                       SIXTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs are entitled to any recovery under the Policy, which

State Farm denies, Plaintiffs’ recovery is limited by the deductible, coverage limits,

loss settlement, and loss payment provisions of the insurance Policy.

                     SEVENTH AFFIRMATIVE DEFENSE

      Even if Plaintiffs were entitled to recover under the Complaint, which State

Farm denies, Plaintiffs are unable to recover the damages as set forth in the

Complaint because this amount does not reflect the reasonable and necessary costs

to repair the covered damage to the Property.

                     EIGHTH AFFIRMATIVE DEFENSE

      Plaintiffs may not recover from Defendant on the basis that Plaintiffs failed to

mitigate the damages in accordance with Georgia law.
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                      NINTH AFFIRMATIVE DEFENSE

      To the extent that Plaintiffs attempt to impose duties upon Defendant aside

from those set forth in the insurance contract, Plaintiffs fail in both fact and law.

Georgia law does not impose extra-contractual duties on insurers when adjusting

claims asserted by insureds. Moreover, at all times relevant hereto, State Farm acted

in good faith and in accordance with the terms and conditions of the Policy.

                      TENTH AFFIRMATIVE DEFENSE

      The facts and circumstances forming the basis of Plaintiffs’ Complaint were

brought by and as a result of Plaintiffs’ conduct, and Plaintiffs are, therefore,

estopped and have waived their rights to recovery.

                   ELEVENTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs seek to recover pursuant to any alleged violation of

Georgia’s Unfair Settlement Practices Act, Plaintiffs are legally prohibited from

doing so as the Act does not create or imply any private cause of action. See

O.C.G.A. § 33-6-37.

                    TWELFTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs seek to recover replacement cost benefits for the

structure or personal property, Plaintiffs have not satisfied the contractual
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requirements to recover these benefits pursuant to the terms of the Policy and

applicable law.

                  THIRTEENTH AFFIRMATIVE DEFENSE

      Plaintiffs may not recover from Defendant because the Policy specifically

excludes coverage for Plaintiffs’ claimed damages. Specifically, the Policy provides:

                     SECTION I – LOSSES NOT INSURED

      1. We will not pay for any loss to the property described in Coverage A
      that consists of, or is directly and immediately caused by, one or more
      of the perils listed in items a. through m. below, regardless of whether
      the loss occurs abruptly or gradually, involves isolated or widespread
      damage, arises from natural or external forces, or occurs as a result of
      any combination of these:
      ...
      b. freezing of a plumbing, heating, air conditioning, or automatic fire
      protective sprinkler system or of a household appliance; or discharge,
      leakage, or overflow from within the system or appliance caused by
      freezing. This does not apply if you have used reasonable care to:

             (1) maintain heat in the building structure at 55 degrees
                 Fahrenheit or higher; or

             (2) shut off the water supply and drain the system and appliances
             of water.
      …
      g. wear, tear, decay, marring, scratching, deterioration, inherent vice,
      latent defect, or mechanical breakdown;
      ...
      i. wet or dry rot;
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j. contamination or pollution, meaning the presence, discharge,
dispersal, seepage, migration, release, or escape of contaminants or
pollutants at or from any source. This does not apply if the presence,
discharge, dispersal, seepage, migration, release, or escape is itself
caused by a peril described in SECTION I – LOSSES INSURED,
COVERAGE B – PERSONAL PROPERTY.

       (1) Contaminants and pollutants include but are not limited to
any:
             (a) solid, liquid, gaseous, or thermal irritant, including
             smoke from agricultural smudging or industrial
             operations, smog, soot, vapor, fumes, acids, alkalis,
             chemicals, pathogens, noxious substances, asbestos, or
             lead:

             (b) contaminants or pollutants resulting from any natural
             resource extraction activities; or

             (c) fuel oil except as specifically provided in SECTION I
             – ADDITIONAL COVERAGES, Fuel Oil Release.

       (2) We also will not pay for:
             (a) losses arising from contamination or pollution caused
             by or resulting from defective building materials, nuclear
             substances, and waste. Waste includes materials to be
             recycled, reconditioned, or reclaimed;

             (b) the cost to extract contaminants or pollutants from
             land, water, or air, or the cost to remove, restore, or replace
             contaminated or polluted land, water, or air; or

             (c) the cost of testing, monitoring, cleaning, removing,
             containing,     treating,   detoxifying,    neutralizing,
             remediating, disposing of, or assessing the effects of
             contaminants or pollutants;
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k. settling, cracking, shrinking, bulging, or expansion of pavements,
patios, foundations (including slabs, basement walls, crawl space walls,
and footings), walls, floors, roofs, or ceilings;
…
2. We will not pay for, under any part of this policy, any loss that would
not have occurred in the absence of one or more of the following
excluded events. We will not pay for such loss regardless of. (a) the
cause of the excluded event; or (b) other causes of the loss; or (c)
whether other causes acted concurrently or in any sequence with the
excluded event to produce the loss; or (d) whether the event occurs
abruptly or gradually, involves isolated or widespread damage, occurs
on or off the residence premises, arises from any natural or external
forces, or occurs as a result of any combination of these:
...
d. Neglect, meaning neglect of the insured to use all reasonable means
to save and preserve property at and after the time of a loss, or when
property is endangered.
...
3. We will not pay for, under any part of this policy, any loss consisting
of one or more of the items below. Further, we will not pay for any loss
described in paragraphs 1. and 2. immediately above regardless of
whether one or more of the following: (a) directly or indirectly cause,
contribute to, or aggravate the loss; or (b) occur before, at the same
time, or after the loss or any other cause of the loss:

a. conduct, act, failure to act, or decision of any person, group,
organization, or governmental body whether intentional, wrongful,
negligent, or without fault;


b. defect, weakness, inadequacy, fault, or unsoundness in:

      (1) planning, zoning, development, surveying, or siting;
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            (2) design, specifications, workmanship, repair, construction,
            renovation, remodeling, grading, or compaction;

            (3) materials used in repair, construction, renovation,
            remodeling, grading, or compaction; or
            (4) maintenance

            Of any property (including land, structures, or improvements or
            any kind) whether on or off the residence premises; OR

      c. weather conditions.

                 FOURTEENTH AFFIRMATIVE DEFENSE

      Plaintiffs are unable to recover for any damages that did not result from

accidental direct physical loss as required by the policy. Specifically, the Policy

provides:

                       SECTION I – LOSSES INSURED

      COVERAGE A – DWELLING

      We will pay for accidental direct physical loss to the property described
      in Coverage A, unless the loss is excluded or limited in SECTION I –
      LOSSES NOT INSURED or otherwise excluded or limited in the
      policy. However, loss does not include and we will not pay for, any
      diminution in value.
      ...
      COVERAGE B – PERSONAL PROPERTY

      We will pay for accidental direct physical loss to the property described
      in Coverage B caused by the following perils, unless the loss is
      excluded or limited in SECTION I – LOSSES NOT INSURED or
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      otherwise excluded or limited in this policy. However, loss does not
      include and we will not pay for, any diminution in value.

                    FIFTEENTH AFFIRMATIVE DEFENSE

      Plaintiffs are unable to recover for any damages that occurred outside of the

applicable policy period. Specifically, the Policy provides:

                SECTION I AND SECTION II – CONDITIONS

      1. Policy Period. This policy applies only to loss under Section I or
         bodily injury or property damage under Section II that occurs during
         the period this policy is in effect.

                    SIXTEENTH AFFIRMATIVE DEFENSE

      Plaintiffs may not maintain this action against Defendant because Plaintiffs

failed to satisfy the conditions precedent to bringing suit set forth in the insurance

policy issued by Defendant to Plaintiffs. Specifically, the policy provides:

                           SECTION I – CONDITIONS
      ...
      6. Suit Against Us. No action will be brought against us unless there has
      been full compliance with all of the policy provisions. Any action by any
      party must be started within one year after the date of loss or damage[.]

                  SEVENTEENTH AFFIRMATIVE DEFENSE

   Plaintiffs may not maintain this action against Defendant because Plaintiffs did not

satisfy the duties after loss provisions in accordance with the policy requirements.

Specifically, the Policy provides:
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                        SECTION I – CONDITIONS
 ...
 2. Your Duties After Loss. After a loss to which this insurance may
    apply, you must cooperate with us in the investigation of the claim
    and also see that the following duties are performed:

       a. give immediate notice to us or our agent, and also notify:

          (1) the policy if the loss is caused by theft, vandalism, or any other
          criminal act and

          (2) the credit card company or bank if the loss involves a credit
              card or bank fund transfer card;

       b. protect the property from further damage or loss, and also:
           (1) make reasonable and necessary temporary repairs required to
           protect the property; and

          (3) keep an accurate record of repair expenses;

       c. prepare an inventory of damaged or stolen personal property:

          (1) showing in detail the quantity, description, age, replacement
              cost, and amount of loss; an

          (2) attaching all bills, receipts, and related documents that
              substantiate the figures in the inventory;

       d. as often as we reasonably require:

          (1) exhibit the damaged property;

          (2) provide us with any requested records and documents and
              allow us to make copies;

          (3) while not in the presence of any other insured:
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              (a) give statements; and

              (b) submit to examinations under oath; and

       (4) produce employees, members of the insured’s household, or
           others for examination under oath to the extent it is within the
           insured’s power to do so; and

    e. submit to us within 60 days after the loss, your signed, sworn proof
    of loss that sets forth, to the best of your knowledge and belief:

       (1) the time and cause of loss;

       (2) interest of the insured and all others in the property involved
       and all encumbrances on the property;

       (3) other insurance which may cover the loss;

       (4) changes in title or occupancy of the property during the terms
       of this policy;

       (5) specifications of any damaged building and detailed estimates
       for repair of the damage;

       (6) an inventory of damaged or stolen personal property described
       in 2.c.;

       (7) receipts for additional living expenses incurred and records
       supporting the fair rental value loss; and

       (8) evidence of affidavit supporting a claim under SECTION I –
       ADDITIONAL COVERAGES, Credit Card, Bank Fund
       Transfer Card, Forgery, and Counterfeit Money coverage,
       stating the amount and cause of loss.
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                  EIGHTEENTH AFFIRMATIVE DEFENSE

      Even if Plaintiffs were entitled to recover benefits in this matter, which State

Farm denies, Plaintiffs are only able to recover benefits of the costs to repair or

replace the damaged Property to the extent these costs of repair exceed the Policy

Deductible. The Policy provides in pertinent part:

                                  DEDUCTIBLE

      In case of loss under this policy, we will pay, subject to specified policy
      limits, only that part of the amount of the loss that exceeds the
      deductible amount shown in the Declarations. Deductibles will be
      applied per occurrence. Deductibles apply to specific losses as
      described in this policy.

                  NINETEENTH AFFIRMATIVE DEFENSE

      Plaintiffs may not recover any additional living expenses from State Farm.

The Policy provides, in SECTION I – COVERAGES, as follows:

            COVERAGE C – LOSS OF USE

            1.     Additional Living Expense. When a loss insured
                   causes the residence premises to become
                   uninhabitable, we will pay the reasonable and
                   necessary increase in cost incurred by an insured to
                   maintain their normal standard of living for up to 24
                   months. Our payment is limited to incurred costs
                   for the shortest of:
            2.
                   a.     the time required to repair or replace the
                          premises;
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                   b.     the time required for your household to settle
                          elsewhere; or

                   c.     24 months.

                   TWENTIETH AFFIRMATIVE DEFENSE

      To the extent State Farm is found liable to Plaintiffs for any damages under

the Policy, which State Farm expressly denies, State Farm is entitled to a setoff of

all amounts paid to or on Plaintiffs’ behalf, including, but not limited to indemnity

payments totaling not less than $108,816.19.

                 TWENTY-FIRST AFFIRMATIVE DEFENSE

      Plaintiffs cannot recover from State Farm under the subject insurance policy

because Plaintiffs breached the terms and conditions of the policy.

                 TWENTY-SECOND AFFIRMATIVE DEFENSE

      To the extent Plaintiffs are entitled to any recovery under the policy, which

State Farm denies, Plaintiffs’ recovery is limited by the Loss Settlement provisions

in the Policy.     Specifically, the policy provides in SECTION I – LOSS

SETTLEMENT as follows:

             COVERAGE A – DWELLING

             1. A1 – Replacement Cost Loss Settlement – Similar
                Construction

                 a. We will pay the cost to repair or replace with similar
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             construction and for the same use on the premises shown
             in the Declarations, the damaged part of the property
             covered under SECTION I – PROPERTY
             COVERAGES, COVERAGE A – DWELLING, except
             for wood fences, subject to the following:

             (1)   until actual repair or replacement is completed, we
                   will pay only the actual cash value of the damaged
                   part of the property, up to the applicable limit of
                   liability shown in the Declarations, not to exceed
                   the cost to repair or replace the damaged part of the
                   property;

             (2)   when the repair or replacement is actually
                   completed, we will pay the covered additional
                   amount you actually and necessarily spend to repair
                   or replace the damaged part of the property, or an
                   amount up to the applicable limit of liability shown
                   in the Declarations, whichever is less;


             (3)   to receive any additional payments on a
                   replacement cost basis, you must complete the
                   actual repair or replacement of the damaged part of
                   the property within two years after the date of loss,
                   and notify us within 30 days after the work has been
                   completed; and

             (4)   we will not pay for increased costs resulting from
                   enforcement of any ordinance or law regulating the
                   construction, repair or demolition of a building
                   structure or other structure, except as provided
                   under OPTIONAL POLICY PROVISIONS,
                   Option OL – Building Ordinance or Law
                   Coverage.

          b. Wood Fences: We will pay the actual cash value for loss
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             or damage to wood fences, not to exceed the limit of
             liability shown in the Declarations for COVERAGE A –
             Other Structures.
 ...

 COVERAGE B – PERSONAL PROPERTY

       1.    B1 – Limited Replacement Cost Loss Settlement.
             a.    We will pay the cost to repair or replace property
                   covered under SECTION I – PROPERTY
                   COVERAGES, COVERAGE B – PERSONAL
                   PROPERTY, except for property listed in item b.
                   below, subject to the following:

                   (1)   until repair or replacement is completed, we
                         will pay only the actual cash value of the
                         damaged property;

                   (2)   after repair or replacement is completed, we
                         will pay the difference between the actual
                         cash value and the cost you have actually and
                         necessarily spent to repair or replace the
                         property; and


                   (3)   if property is not repaired or replaced within
                         two years after the date of loss, we will pay
                         only the actual cash value.

             b.    We will pay market value at the time of loss for:

                   (1)   antiques, fine arts, paintings, statuary and
                         similar articles, which by their inherent
                         nature cannot be replaced with new articles;
                   (2)   articles whose age or history contribute
                         substantially to their value including, but not
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                                 limited to, memorabilia, souvenirs and
                                 collectors items; and

                          (3)     property not useful for its intended purpose.
                   However, we will not pay an amount exceeding the
                   smallest of the following for items a. and b. above:

                          (1)    our cost to replace at the time of loss;
                          (2)    the full cost of repair;
                          (3)    any special limit of liability described in this
                                 policy; or
                          (4)    any applicable Coverage B limit of liability.

                 TWENTY-THIRD AFFIRMATIVE DEFENSE

      Plaintiffs’ claims are barred, in whole or in part, by the doctrines of laches.

               TWENTY-FOURTH AFFIRMATIVE DEFENSE

      Plaintiffs cannot recover based on their spoliation of critical evidence.

                 TWENTY-FIFTH AFFIRMATIVE DEFENSE

      To the extent Plaintiffs seek coverage for mold damage to the property, the

Policy only affords limited coverage for this type of damage. The Policy provides

in SECTION I – LOSSES NOT INSURED:

      2.    We will not pay for, under any part of this policy, any loss that
            would not have occurred in the absence of one or more of the
            following excluded events. We will not pay for such loss
            regardless of. (a) the cause of the excluded event; or (b) other
            causes of the loss; or (c) whether other causes acted concurrently
            or in any sequence with the excluded event to produce the loss;
            or (d) whether the event occurs abruptly or gradually, involves
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       isolated or widespread damage, occurs on or off the residence
       premises, arises from any natural or externa forces, or occurs as
       a result of any combination of these:
 …

       g.    Fungus, including:

             (1) any loss of use or delay in rebuilding, repairing, or
                replacing covered property, including any associated
                cost or expense, due to interference at the residence
                premises or location of the rebuilding, repair, or
                replacement of that property, by fungus;

             (2) any remediation of fungus, including the cost or
                 expense to:

                (a) remove the fungus from covered property or to
                   repair, restore, or replace that property;

                (b) tear out and replace any part of the building
                   structure or other property as needed to gain access
                   to the fungus; or

                (c) contain, treat, detoxify, neutralize or dispose of or
                    in any way respond to or assess the effects of the
                    fungus; or

             (3) the cost of any testing or monitoring of air or property
                to confirm the type, absence, presence, or level of
                fungus, whether performed prior to, during, or after
                removal, repair, restoration, or replacement of covered
                property.
 …

 HO-2584 Fungus (Including Mold) Limited Coverage Endorsement
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 This endorsement modifies insurance provided under the following:
 HOMEOWNERS POLICY, CONDOMINIUM POLICY, and
 RENTERS POLICY

 SECTION I - LOSSES NOT INSURED 2.g., Fungus (SECTION | -
 LOSSES NOT INSURED 1.g. if you have a RENTERS POLICY),
 does not apply to the extent coverage is provided by this endorsement.

 SECTION I - ADDITIONAL COVERAGES
 The following is added:

       Remediation of Fungus.
       a. If fungus is the result of a loss insured other than fire or
       lightning, we will pay for:

             (1) any loss of use or delay in rebuilding, repairing, or
             replacing covered property, including any associated cost
             or expense, due to interference at the residence premises
             or location of the rebuilding, repair, or replacement of that
             property, by fungus;

            (2) any remediation of fungus, including the cost or
       expense to:

                    (a) remove the fungus from covered property or to
                    repair, restore, or replace that property;

                    (b) tear out and replace any part of the building
                    structure or other property as needed to gain access
                    to the fungus; or

                    (c) contain, treat, detoxify, neutralize, or dispose of
                    or in any way respond to or assess the effects of the
                    fungus; or

             (3) the cost of any testing or monitoring of air or property
             to confirm the type, absence, presence, or level of fungus,
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             whether performed prior to, during, or after removal,
             repair, restoration, or replacement of covered property.

       b. We do not cover fungus that is the result of:

             (1) seepage or leakage of water, steam, or sewage that
             occurs or develops over a period of time:

                    (a) and is:
                           i. continuous;
                           ii. repeating;
                           iii. gradual;
                           iv. intermittent;
                           v. slow; or
                           vi. trickling; and

                    (b) from a:
                           i. heating, air conditioning, or automatic fire
                           protective sprinkler system;
                           ii. household appliance; or
                           iii. plumbing system, including from, within
                           or around any shower stall, shower bath, tub
                           installation, or other plumbing fixture,
                           including their walls, ceilings, or floors.

             We also will not pay for losses arising from condensation
             or the presence of humidity, moisture, or vapor that occurs
             or develops over a period of time.

             Item b. does not apply if the seepage or leakage of water,
             steam, or sewage is hidden from view within the walls,
             ceilings, or floors, and unknown by the insured.

             (2) defect, weakness, inadequacy, fault, or unsoundness
             in:(a) planning, zoning, development, surveying, or siting;

                    (a) planning, zoning, development, surveying, or
                    siting;
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                    (b) design, specifications, workmanship, repair,
                    construction, renovation, remodeling, grading, or
                    compaction;

                    (c) materials used in repair, construction,
                    renovation, remodeling, grading, or compaction; or

                    (d) maintenance;

                    of any property (including land, structures, or
                    improvements of any kind) whether on or off the
                    residence premises.

       c. This coverage applies only if:

             (1) we receive immediate notice of the occurrence of the
             loss insured that is alleged to have resulted in fungus, and
             remediation begins as soon as possible; and
             (2) all reasonable means were used to save and preserve
             the property from further damage at the time of and after
             the occurrence of the loss insured.

       d. The most we will pay for this coverage, in any one policy
       period, is the limit of insurance shown on the Declarations for
       this endorsement. This limit applies only to fungus resulting
       from a loss insured other than fire or lightning regardless of:

             (1) the number of losses insured that combine or
             contribute to the presence of resulting fungus; or

             (2) the number of claims made during the policy period.

       This limit includes any payments for SECTION | —
       ADDITIONAL COVERAGES and COVERAGE C — LOSS
       OF USE. Any payments made for this coverage are part of and
       not in addition to the limit of insurance that applies to covered
       property.
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      All other policy provisions apply.

      The most that Plaintiffs can recover under this coverage is $10,000 or actual

expense incurred, whichever is lower.

                 TWENTY-SIXTH AFFIRMATIVE DEFENSE

      State Farm expressly reserves the right to assert any and all affirmative

defense(s) and matter(s) in avoidance as may be disclosed during the course of

additional investigation and discovery. Subject to and without waiving any of their

other respective rights, jurisdictional or legal defenses, or objections, State Farm

responds to the specific averments contained in the individual and enumerated

paragraphs of the Complaint as follows:

                                     PARTIES

                                           1.

      Defendant admits the allegations contained in Paragraph 1 of Plaintiffs’

Complaint.

                                           2.

      In response to the allegations contained in Paragraph 2 of Plaintiffs’

Complaint, Defendant admits only that it is a foreign insurance company, authorized

to transact business in the State of Georgia, in the business of selling insurance

policies, and that its registered agent is located at 2 Sun Court, Suite 400, Peachtree
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Corners, Georgia 30092. Except as otherwise herein admitted, all remaining

allegations contained in Paragraph 2 of Plaintiffs’ Complaint are denied, including,

but not limited to, any allegations that the insurance policy issued by Defendant

provides unfettered and/or unrestricted insurance coverage. All coverage provided

is subject to the terms and provisions of the Policy and applicable Georgia law.

                          JURISDICTION AND VENUE

                                          3.

      In response to the allegations contained in Paragraph 3 of Plaintiffs’

Complaint, Defendant admits only that the Superior Court of Gwinnett County has

jurisdiction over this matter but denies all remaining allegations contained in

Paragraph 3 of Plaintiffs’ Complaint, including, but not limited to, any allegations

that the Superior Court of Gwinnett County is the only court having jurisdiction over

this matter and any allegations that Defendant breached its contract with Plaintiffs

or otherwise acted in bad faith.

                                          4.

      In response to the allegations contained in Paragraph 4 of Plaintiffs’

Complaint, Defendant admits only that the Superior Court of Gwinnett County is a

proper venue in which to bring this matter, but denies all remaining allegations

contained in Paragraph 4 of Plaintiffs’ Complaint, including, but not limited to, any
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allegations that the Superior Court of Gwinnett County is the only venue in which

this matter could be brought and any allegations that Defendant breached its contract

with Plaintiffs or otherwise acted in bad faith.

                                           5.

      In response to the allegations contained in Paragraph 5 of Plaintiffs’

Complaint, Defendant admits only that the Superior Court of Gwinnett County has

jurisdiction and is a proper venue for this matter, but denies the Superior Court of

Gwinnett County is the only court with proper jurisdiction and venue over this

matter. Except as otherwise herein admitted, all remaining allegations contained in

Paragraph 5 of Plaintiffs’ Complaint are denied.

                                    THE POLICY

                                          6.

      In response to the allegations contained in Paragraph 6 of Plaintiffs’

Complaint, Defendant admits only that it issued Policy Number 11-QB-7846-3 (the

“Policy”) to Plaintiffs. Defendant responds further that the terms and provisions of

the Policy and applicable Georgia law speak for themselves and denies all

allegations contained in Paragraph 6 in direct contradiction thereto. Except as

otherwise herein admitted, all remaining allegations contained in Paragraph 6 of

Plaintiffs’ Complaint are denied.
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                                          7.

      In response to the allegations contained in Paragraph 7 of Plaintiffs’

Complaint, Defendant admits only that it issued the Policy to Plaintiffs to provide

specified coverage for the property located at 433 Oakside Drive SW, Atlanta,

Georgia (the “Property”), subject to all terms, conditions, and exclusions therein and

applicable law. Defendant responds further that the terms and provisions of the

Policy and applicable Georgia law speak for themselves and denies all allegations

contained in Paragraph 7 in direct contradiction thereto. Except as otherwise herein

admitted, all remaining allegations contained in Paragraph 7 of Plaintiffs’ Complaint

are denied, including, but not limited to, any allegations that the Policy provided

unrestricted and/or unfettered insurance coverage, as all coverage under the Policy

is subject to the terms and conditions of the Policy and applicable Georgia law.

                                          8.

      In response to the allegations contained in Paragraph 8 of Plaintiffs’

Complaint, Defendant admits only that the terms and provisions of the Policy and

applicable Georgia law speak for themselves and denies all allegations contained in

Paragraph 8 in direct contradiction thereto. Except as otherwise herein admitted, all

remaining allegations contained in Paragraph 8 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that the Policy provided unrestricted
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and/or unfettered insurance coverage, as all coverage provided under the Policy is

subject to the terms and conditions of the Policy and applicable Georgia law.

                                         9.

      In response to the allegations contained in Paragraph 9 of Plaintiffs’

Complaint, Defendant admits only that the terms and provisions of the Policy and

applicable Georgia law speak for themselves and denies all allegations contained in

Paragraph 9 in contradiction thereto. Except as otherwise herein admitted, all

remaining allegations contained in Paragraph 9 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that the Policy provided unrestricted

and/or unfettered insurance coverage, as all coverage provided under the Policy is

subject to the terms and provisions of the Policy and applicable Georgia law.

 SUDDEN AND ACCIDENTAL DAMAGE TO THE INSURED PROPERTY

                                        10.

      In response to the allegations contained in Paragraph 10 of Plaintiffs’

Complaint, Defendant admits only that Plaintiffs reported that the Property suffered

damage from wind on or about July 30, 2022 and that the alleged date of loss is

within the effective dates of the Policy. Except as otherwise herein admitted, all

remaining allegations contained in Paragraph 10 of Plaintiffs’ Complaint are denied.
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                                        11.

      In response to the allegations contained in Paragraph 11 of Plaintiffs’

Complaint, Defendant admits only that the Plaintiffs notified Defendant of the

alleged wind damage to the Property on July 30, 2022. Defendant admits further that

Plaintiffs made a claim pursuant to the Policy for the alleged wind damage to the

Property, and a State Farm Claim Representative was assigned to adjust the claim

on behalf of State Farm. Except as otherwise herein admitted, all remaining

allegations contained in Paragraph 11 of Plaintiffs’ Complaint are denied.

                                        12.

      In response to the allegations contained in Paragraph 12 of Plaintiffs’

Complaint, Defendant admits only that Plaintiffs permitted Defendant to inspect the

Property and provided some, but not all, of the documents requested by Defendant.

Except as otherwise herein admitted, all remaining allegations contained in

Paragraph 12 of Plaintiffs’ Complaint are denied.

                                        13.

      In response to the allegations contained in Paragraph 13 of Plaintiffs’

Complaint, Defendant admits only that Plaintiffs permitted Defendant to inspect the

Property. Except as otherwise herein admitted, all remaining allegations contained

in Paragraph 13 of Plaintiffs’ Complaint are denied.
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                                         14.

      Defendant denies the allegations contained in Paragraph 14 of Plaintiffs’

Complaint.

                                         15.

      In response to the allegations contained in Paragraph 15 of Plaintiffs’

Complaint, Defendant admits that Exhibit “A” is a true and accurate copy of an

estimate prepared by Defendant, which speaks for itself. Except as otherwise herein

admitted, all remaining allegations contained in Paragraph 15 of Plaintiffs’

Complaint are denied, including, but not limited to, any allegations that Defendant

failed to properly issue payment for Plaintiffs’ claim.

                                         16.

      In response to the allegations contained in Paragraph 16 of Plaintiffs’

Complaint, Defendant admits only that Defendant and representatives of Plaintiffs

exchanged communications during the claim, but states that these communications

speak for themselves and denies any allegations contained in Paragraph 16 in direct

contravention thereto. Except as otherwise herein admitted, all remaining allegations

contained in Paragraph 16 of Plaintiffs’ Complaint are denied.
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                                        17.

      In response to the allegations contained in Paragraph 17 of Plaintiffs’

Complaint, Defendant denies that it received a copy of Exhibit B prior to the filing

of this Lawsuit or on May 24, 2023. By way of further response, Defendant states

that on May 24, 2023, Plaintiffs’ counsel resent its February 2023 letter of

representation to it and did not send Exhibit B to it.   Except as otherwise herein

admitted, all remaining allegations contained in Paragraph 17 of Plaintiffs’

Complaint are denied, including, but not limited to, any allegations that the May 24,

2022 correspondence constituted a timely or valid demand for payment.

                                        18.

      In response to the allegations contained in Paragraph 18 of Plaintiffs’

Complaint, Defendant denies that it received a copy of Exhibit B prior to the filing

of this Lawsuit or on May 24, 2023. By way of further response, Defendant states

that on May 24, 2023, Plaintiffs’ counsel resent its February 2023 letter of

representation to it and did not send Exhibit B to it. Defendant denies that Exhibit

B constitutes a valid or timely demand for payment pursuant to O.C.G.A. § 33-4-6.

Except as otherwise herein admitted, all remaining allegations contained in

Paragraph 18 of Plaintiffs’ Complaint are denied, including, but not limited to, any
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allegations that the May 24, 2022, correspondence constituted a timely or valid

demand for payment.

                                        19.

      In response to the allegations contained in Paragraph 19 of Plaintiffs’

Complaint, Defendant denies that it received a copy of Exhibit B prior to the filing

of this Lawsuit or on May 24, 2023. Except as otherwise herein admitted, all

remaining allegations contained in Paragraph 19 of Plaintiffs’ Complaint are denied.

                                        20.

      All allegations contained in Paragraph 20 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that Defendant failed to issue payment

for covered damages to the Property pursuant to the terms and provisions of the

Policy and applicable Georgia law.

                                        21.

      Defendant denies the allegations contained in Paragraph 21 of Plaintiffs’

Complaint.

                                        22.

      Defendant denies the allegations contained in Paragraph 22 of Plaintiffs’

Complaint.
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                                         23.

      Defendant denies the allegations contained in Paragraph 23 of Plaintiffs’

Complaint.

                     COUNT I – BREACH OF CONTRACT

                                         24.

      To the extent a response is required to the allegations contained in Paragraph

24 of Plaintiffs’ Complaint, Defendant incorporates herein by reference its responses

to Plaintiffs’ enumerated Paragraphs 1 through 23.

                                         25.

      Defendant denies the allegations contained in Paragraph 25 of Plaintiffs’

Complaint.

                                         26.

      In response to the allegations contained in Paragraph 26 of Plaintiffs’

Complaint, Defendant admits that the Policy speaks for itself and affords coverage

for certain losses subject to the Policy’s terms and conditions and applicable Georgia

law. All remaining allegations contained in Paragraph 26 of Plaintiffs’ Complaint

are denied, including, but not limited to, any allegations that Defendant failed to

issue payment for covered damages to the Property resulting from the July 30, 2022

loss, pursuant to the terms and provisions of the Policy and applicable Georgia law.
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                                        27.

      All allegations contained in Paragraph 27 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that Defendant failed to issue payment

for covered damages to the Property pursuant to the terms and provisions of the

Policy and applicable Georgia law and any allegation that Plaintiffs made a valid

demand for payment pursuant to O.C.G.A. § 33-4-6.

                                        28.

      All allegations contained in Paragraph 28 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that Defendant failed to conduct a

proper claim investigation or that it failed to issue payment for covered damages to

the Property pursuant to the terms and provisions of the Policy and applicable

Georgia law.

                                        29.

      All allegations contained in Paragraph 29 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that Defendant failed to issue payment

for covered damages to the Property pursuant to the terms and provisions of the

Policy and applicable Georgia law.
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                                        30.

      All allegations contained in Paragraph 30 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that Defendant failed to issue payment

for covered damages to the Property pursuant to the terms and provisions of the

Policy and applicable Georgia law.

                                        31.

      Defendant denies all the allegations contained in Paragraph 31 of Plaintiffs’

Complaint.

                                        32.

      To the extent a response is required to the allegations contained in Paragraph

32 of Plaintiffs’ Complaint, Defendant denies the allegations contained in Paragraph

32 of Plaintiffs’ Complaint.

          COUNT II: BAD FAITH PURSUANT TO O.C.G.A. § 33-4-6

                                        33.

      To the extent a response is required to the allegations contained in Paragraph

33 of Plaintiffs’ Complaint, Defendant incorporates herein by reference its responses

to Plaintiffs’ enumerated Paragraphs 1 through 32.
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                                         34.

      All allegations contained in Paragraph 34 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that Defendant failed to conduct a

proper claim investigation or that it failed to issue payment for covered damages to

the Property pursuant to the terms and provisions of the Policy and applicable

Georgia law, and that Defendant owed any duty other than those duties set forth in

the Policy.

                                         35.

      All allegations contained in Paragraph 35 of Plaintiffs’ Complaint are denied,

including, but not limited to, any allegations that Defendant failed to conduct a

proper claim investigation or that it failed to issue payment for covered damages to

the Property pursuant to the terms and provisions of the Policy and applicable

Georgia law, and that Defendant owed any duty other than those duties set forth in

the Policy.

                                         36.

      Defendant denies all allegations contained in Paragraph 36 of Plaintiffs’

Complaint, including those allegations set forth in subsections (1) through (8)

contained therein, including but not limited to any allegation that Defendant owed

any duty other than those duties set forth in the Policy.
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                                        37.

      Defendant denies all allegations contained in Paragraph 37 of Plaintiffs’

Complaint.

                                        38.

      Defendant denies all allegations contained in Paragraph 38 of Plaintiffs’

Complaint.

                                        39.

      Defendant denies all allegations contained in Paragraph 39 of Plaintiffs’

Complaint.

                                        40.

      Defendant denies all allegations contained in Paragraph 40 of Plaintiffs’

Complaint.

                                        41.

      To the extent a response is required to the allegations contained in Paragraph

41 of Plaintiffs’ Complaint, Defendant denies the allegations contained in Paragraph

41 of Plaintiffs’ Complaint.
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                           DEMAND FOR JURY TRIAL

                                           42.

      To the extent a response is required to Paragraph 42 of Plaintiffs’ Complaint,

Defendant denies any and all allegations contained in Paragraph 42 of Plaintiffs’

Complaint.

                              PRAYER FOR RELIEF

                                           43.

      Defendant denies all allegations contained in Plaintiffs’ Prayer for Relief,

including those allegations set forth in subsections (a) through (i) contained therein.

                                           44.

      Except as otherwise herein admitted, Defendant denies all remaining

allegations contained in Plaintiffs’ Complaint.

      WHEREFORE, having fully answered, Defendant respectfully requests that

this Court:

      (a) Deny Plaintiffs’ prayer for damages;

      (b) Dismiss this action with prejudice and cast all costs upon Plaintiffs; and

      (c) Award Defendant any other relief that this Court deems just and

          equitable.

      Respectfully submitted this 1st day of September, 2023.
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                                       SWIFT, CURRIE, McGHEE & HIERS, LLP

                                       /s/ Christopher A. Wood
                                       Alex A. Mikhalevsky, Esq.
                                       Georgia Bar No. 711188
                                       Christopher A. Wood, Esq.
                                       Georgia Bar No. 272768
                                       Attorneys for Defendant State Farm Fire
                                       and Casualty Company

1420 Peachtree Street, NE, Suite 800
Atlanta, GA 30309
Tel: (404) 874-8800
Fax: (404) 888-6199
alex.mikhalevsky@swiftcurrie.com
Christopher.wood@swiftcurrie.com
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                   LOCAL RULE 5.1C CERTIFICATION

      By signature below, counsel certifies that the foregoing pleading was prepared

in Times New Roman, 14-point font in compliance with Local Rule 5.1C.

      Respectfully submitted this 1st day of September, 2023.

                                       SWIFT, CURRIE, MCGHEE & HIERS

                                       /s/ Christopher A. Wood
                                       Alex A. Mikhalevsky, Esq.
                                       Georgia Bar No. 711188
                                       Christopher A. Wood, Esq.
                                       Georgia Bar No. 272768
                                       Attorneys for Defendant State Farm Fire
                                       and Casualty Company

1420 Peachtree Street, NE, Suite 800
Atlanta, GA 30309
Tel: (404) 874-8800
Fax: (404) 888-6199
alex.mikhalevsky@swiftcurrie.com
Christopher.wood@swiftcurrie.com
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                        CERTIFICATE OF SERVICE

      I have this day electronically filed the foregoing DEFENDANT STATE

FARM       FIRE    AND     CASUALTY          COMPANY’S         ANSWER       AND

AFFIRMATIVE DEFENSES TO PLAINTIFFS’ COMPLAINT with the Clerk

of Court using the CM/ECF System. The clerk will serve opposing counsel as

follows:

                            J. Remington Huggins
                              Michael D. Turner
                      THE HUGGINS LAW FIRM, LLC
                    110 Norcross Street, Roswell, GA 30075
                         remington@lawhuggins.com
                          mdturner@lawhuggins.com
                            Attorneys for Plaintiffs

      This 1st day of September, 2023.

                                       SWIFT, CURRIE, McGHEE & HIERS, LLP

                                       /s/ Christopher A. Wood
                                       Alex A. Mikhalevsky, Esq.
                                       Georgia Bar No. 711188
                                       Christopher A. Wood, Esq.
                                       Georgia Bar No. 272768
                                       Attorneys for Defendant State Farm Fire
                                       and Casualty Company
1420 Peachtree Street, NE, Suite 800
Atlanta, GA 30309
Tel: (404) 874-8800
Fax: (404) 888-6199
alex.mikhalevsky@swiftcurrie.com
Christopher.wood@swiftcurrie.com
